                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

E.K. and S.K., minors, by and through their )
parent and next friend, LINDSEY KEELEY, et )
al.,                                        )
                                            )
                       Plaintiffs,          )           Case No. 1:25-cv-637 (PTG/IDD)
                                            )
        v.                                  )
                                            )
DEPARTMENT OF DEFENSE EDUCATION )
ACTIVITY, et al.,                           )
                                            )
                       Defendants.          )

                            NOTICE OF EX PARTE DELIVERY

       Pursuant to this Court’s Order of June 16, 2025 (Dkt. 45), Defendants, through their

undersigned counsel, hereby provide notice that they have delivered the current list of books that

have been designated for further review by the Department of Defense with the Clerk of Court to

be forwarded to the chambers of the presiding District Judge for ex parte and in camera review.

Dated: June 11, 2025                                Respectfully submitted,

                                                    ERIK S. SIEBERT
                                                    UNITED STATES ATTORNEY

                                             By:            /s/
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